 Case 2:21-cv-00809-SSS-KS      Document 57 Filed 07/28/22   Page 1 of 2 Page ID
                                      #:1280


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14
15                           UNITED STATES DISTRICT COURT
16                      CENTRAL DISTRICT OF CALIFORNIA
17                                WESTERN DIVISION
18
     PAZ RAYGOZA, an individual,             Case No. 2:21-cv-00809-GW (KSx)
19
                Plaintiff,
20                                           Hon. George H. Wu
21        v.                                 JOINT STIPULATION FOR
                                             DISMISSAL OF ALL CLAIMS
22   WALMART INC., a Delaware
     corporation formerly known as WAL-
23   MART STORES, INC.; and DOES 1
     through 20, inclusive,
24
                Defendants.
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                                   -1-          2:21-cv-00809-GW (KSx)
                JOINT STIPULATION FOR DISMISSAL OF ALL CLAIMS
 Case 2:21-cv-00809-SSS-KS         Document 57 Filed 07/28/22          Page 2 of 2 Page ID
                                         #:1281



 1            TO ALL PARTIES AND THIS HONORABLE COURT
 2            IT IS HEREBY STIPULATED by and between all parties who have appeared
 3   in this action, through their designated counsel, that Plaintiff PAZ RAYGOZA
 4   dismisses this entire action with prejudice, pursuant to Federal Rules of Civil
 5   Procedure Rule 41. This dismissal is pursuant to a settlement reached among the
 6   parties. Pursuant to the settlement, each party shall bear its own attorneys’ fees and
 7   costs.
 8
     Dated:        July 28, 2022           PAYNE & FEARS LLP
 9
10
11                                         By: /s/ _Megan A. Mackie___________
                                                        DANIEL F. FEARS
12                                                   ANDREW K. HAEFFELE
13                                                     MEGAN A MACKIE

14                                                 Attorneys for Defendant WALMART INC.
15
     Dated:        July 28, 2022           EMPLOYEE JUSTICE LEGAL GROUP, PC
16
17
                                           By:     /s/_Kaveh S. Elihu_______________
18                                                 KAVEH S. ELIHU
                                                   JOSE VALDEZ
19                                                 Attorneys for Plaintiff
                                                   PAZ RAYGOZA
20
21
22
                                   SIGNATURE ATTESTATION
23
              Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that authorization for
24
     the filing of this document has been obtained from each of the other signatories shown
25
     above and that all signatories concur in the filing’s content.
26
                                        By:      /s/ Megan A. Mackie
27
     4867-7875-1020.1
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                                           -2-          2:21-cv-00809-GW (KSx)
                        JOINT STIPULATION FOR DISMISSAL OF ALL CLAIMS
